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     STEPHEN M. LOBBIN
     sml@smlavvocati.com
 2   SML AVVOCATI P.C.
 3
     888 Prospect Street, Suite 200
     San Diego, California 92037
 4   (949) 636-1391 (Phone)
 5
     Attorney(s) for Rothschild Patent Imaging, LLC
 6

 7
                     IN THE UNITED STATES DISTRICT COURT
 8                FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
     ROTHSCHILD PATENT               §
10   IMAGING LLC,                    §            Case No: 3:22-cv-01938-VC
                                     §
11
          Plaintiff,                 §            PATENT CASE
12                                   §
     vs.                             §            UNOPPOSED MOTION TO STAY
13
                                     §            AND NOTICE OF SETTLEMENT
14   ZENFOLIO, INC.                  §
                                     §
15
          Defendant.                 §            Honorable Vince Chhabria
16   ________________________________§
17
           TO THE HON. VINCE CHHABRIA, UNITED STATES DISTRICT
18
     JUDGE, NORTHERN DISTRICT OF CALIFORNIA:
19
           Pursuant to Civil Local Rule 6-3, Plaintiff Rothchild Patent Imaging, LLC
20
     (“Plaintiff” and/or “RPI”) subject to the approval of the Court, hereby files this
21
     Unopposed Motion to Stay All Deadlines and Notice of Settlement, and in support
22
     thereof, respectfully shows the Court as follows:
23
           Plaintiff and Defendant Zenfolio, Inc. (“Defendant” and/or “Zenfolio”) have
24
     reached an agreement in principle that will settle and dispense of this matter. The
25
     Parties are in the process of memorializing the terms of a written settlement agreement.
26
     The parties anticipate that they will be able to perform such terms within thirty (30)
27
     days. Accordingly, Plaintiff respectfully requests that the Court grant a stay of the
28

                                               1
                            MOTION TO STAY AND NOTICE OF SETTLEMENT
        Case 3:22-cv-01938-VC Document 16 Filed 06/16/22 Page 2 of 2




 1   proceedings between the parties, including all deadlines, up or until July 15, 2022.
 2   Defendant is unopposed to the relief requested herein.
 3         Good cause exists for granting this Unopposed Motion, as set forth above. The
 4   motion is not filed for purposes of delay but so that justice may be served.
 5

 6   Dated: June 16, 2022                   Respectfully submitted,
 7
                                            /s/Stephen M. Lobbin
 8                                          Stephen M. Lobbin
 9
                                            sml@smlavvocati.com
                                            SML AVVOCATI P.C.
10                                          888 Prospect Street, Suite 200
11                                          San Diego, California 92037
                                            (949) 636-1391 (Phone)
12

13                                          Attorney(s) for Plaintiff

14
                                CERTIFICATE OF SERVICE
15

16          I hereby certify that on June 16, 2022, I electronically filed the above
     document(s) with the Clerk of Court using CM/ECF which will send electronic
17   notification of such filing(s) to all registered counsel.
18
                                                   /s/Stephen M. Lobbin
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                                                   Stephen M. Lobbin
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                            MOTION TO STAY AND NOTICE OF SETTLEMENT
